          Case 23-20016-CLC       Doc 38   Filed 04/02/24   Page 1 of 1


                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA

                                              PROCEEDINGS UNDER CHAPTER 13
                                              CASE NO. 23-20016-BKC-CLC
IN RE:
ANGELA MINOR CAREY,
                DEBTOR(S).
                              /


                TRUSTEE'S NOTICE OF NON-COMPLIANCE

     Nancy K. Neidich, Standing Chapter 13 Trustee, files this Notice
of Non-Compliance and states as follows:
     1.   At the Confirmation Hearing held on March 26, 2024,
the debtor(s) agreed to become current with $1,640.90 by five o’clock
in the afternoon.
     2.   As of April 2, 2024, the debtor(s) has failed to comply
with this agreement as the last payment received by the Trustee was
on January 24, 2024, in the amount of $820.45.
     3.   Accordingly, the Trustee is requesting entry of an Order
Dismissing the Chapter 13 Case.
     I hereby certify that a true and correct copy of the foregoing
was mailed by postage prepaid mail to the following on April 2, 2024.


                                      /s
                                     NANCY K. NEIDICH, ESQUIRE
                                     STANDING CHAPTER 13 TRUSTEE
                                     P.O. BOX 279806
                                     MIRAMAR, FL 33027
                                     (954) 443-4402


COPIES FURNISHED TO:

Angela Minor Carey
PO Box 551970
Opa Locka, FL 33055

JAMES ALAN POE, ESQ (ECF)
